Case 2:19-cr-00087-DRH-SIL Document 43 Filed 04/22/21 Page 1 of 1 PageID #: 401

                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
OG                                                610 Federal Plaza
F. #2018R01935                                    Central Islip, New York 11722



                                                  April 22, 2021

By ECF

The Honorable Denis R. Hurley
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722

              Re:    United States v. Michael Wustrow
                     Criminal Docket No. 19-00087 (DRH)

Dear Judge Hurley:

               The government and the defense respectfully request an adjournment of the
sentencing currently scheduled for May 10, 2021. The government respectfully seeks an
adjournment date of June 17, 2021 at 11:30 a.m. The defendant joins the government’s
request for the requested adjourn date.

              Thank you for your consideration of this request.

                                                  Respectfully submitted,

                                                  MARK J. LESKO
                                                  Acting United States Attorney

                                          By:        /s/ Oren Gleich
                                                  Oren Gleich
                                                  Assistant U.S. Attorney
                                                  (631) 715-7889
